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                                                                   January 3, 2022



BY ECF FILING

The Honorable James M. Wicks
United States Magistrate Judge
United States District Court
 for the Eastern District of New York
100 Federal Plaza
Central Islip, New York 11722


         Re: MacKenzie v. National Grid USA Serv. Co. Inc., Case No. 19-cv-1916-JS-JMW

Dear Judge Wicks:

        We are counsel for Plaintiff Kristen MacKenzie and the Settlement Class in the related
action, Jenkins v. National Grid USA Serv. Co., Inc., 15-cv-1219-JS (the “Jenkins Action”). We
write on behalf of all parties to provide a status report in response to Your Honor’s December 29,
2021 Order requesting the same.

        As noted in the Order, the parties have reached a classwide settlement in the Jenkins
Action, which Judge Seybert has preliminary approved. The final approval hearing for the
Jenkins Action is scheduled for June 10, 2022. See Jenkins Action, Dkt. 736. If Judge Seybert
finally approves the settlement agreement in Jenkins, that will also resolve the MacKenzie action,
by: (1) adding Ms. MacKenzie as an additional named plaintiff in the Jenkins Action and (2)
dismissing this action (the MacKenzie Action). See Jenkins Action, Dkt. 733-1 (Settlement
Agreement, ¶¶ 15.01-15.05); J733-1, Ex. B (Proposed Final Approval Order, ¶¶ 15-16).

       Accordingly, the parties believe the MacKenzie Action should continue to be stayed
pending the possible issuance of a final approval order in the Jenkins Action.

                                                            Respectfully yours,




                                                            Joseph S. Tusa
                                                            TUSA P.C.
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                                                                        TUSA P.C.

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cc: Defendants’ counsel (by ECF)
